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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS




Anthony Serra,

           on behalf of himself and all others
           similarly situated,
                                        Plaintiff,          Civil Action No. 4:24-cv-40022-MRG

                          v.

New England Patriots LLC,
                                     Defendant.



                        NEW ENGLAND PATRIOTS LLC’S MOTION
                         TO DISMISS PLAINTIFF’S COMPLAINT

          Defendant New England Patriots LLC (the “Patriots”) files this motion to dismiss

Plaintiff’s Amended Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to

state a claim upon which relief can be granted. In support of this Motion, the Patriots rely on the

accompanying memorandum of law.

          WHEREFORE, the Patriots respectfully request that the Court dismiss Plaintiff’s

Complaint in its entirety, with prejudice, and order such other relief as the Court deems just and

proper.

                                 REQUEST FOR ORAL ARGUMENT

          Pursuant to Local Rule 7.1(d), New England Patriots LLC respectfully requests that the

Court hold oral argument on the Motion to Dismiss. New England Patriots LLC believes that oral

argument will materially assist the Court in ruling on the Motion.




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Dated: April 30, 2024             Respectfully submitted,


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                         L.R. 7.1 CERTIFICATE OF CONFERENCE

        I hereby certify that pursuant to Local Rule 7.1, the parties have met and conferred but

have been unable to resolve or narrow the issues presented in this Motion.

                                              /s/ Carter E. Greenbaum
                                              Carter E. Greenbaum (admitted pro hac vice)




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF) on April 30,

2024.

                                              /s/ Samuel N. Rudman
                                              Samuel N. Rudman (BBO #: 698018)




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